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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF DELAWARE


 William Ellin,                                    Civil Action No.
                          Plaintiff,


           – against–
                                                   COMPLAINT


 Enhanced Recovery Company, LLC,

                          Defendant.



                                       COMPLAINT

       Plaintiff, William Ellin (hereinafter “Plaintiff”), by and through his attorneys,

Garibian Law Offices, P.C., by way of Complaint against Defendant, Enhanced Recovery

Company, LLC, alleges as follows:

                                    INTRODUCTION

      1. This is an action for damages brought by an individual consumer for

         Defendant’s breach of contract, breach of the implied covenant of good faith

         and fair dealing, and violations of the Fair Debt Collection Practices Act, 15

         U.S.C. § 1692, et seq. (hereafter the "FDCPA"). The FDCPA prohibits debt

         collectors from engaging in abusive, deceptive, and unfair collection practices.

                                        PARTIES

      2. Plaintiff, William Ellin, is an adult citizen of the State of Texas.




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     3. Defendant, Enhanced Recovery Company, LLC (“ERC”), is a for profit

        business entity organized and existing under the law of Delaware that is

        regularly engaged in the business of collecting debts in Delaware, with its

        principal place of business located at 8014 Bayberry Road, Jacksonville, FL

        32256. The principal business purpose of ERC is the collection of debts using

        the mails and telephone, and ERC regularly attempts to collect debts alleged to

        be due to another.

     4. Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6) of the

        FDCPA.

     5. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

                             JURISDICTION AND VENUE

     6. This Court has jurisdiction pursuant to 28 U.S.C. § 1331. Federal question

        jurisdiction arises pursuant to 15 U.S.C. § 1692.

     7. Venue is proper in Delaware pursuant to 15 U.S.C. § 1391(b)(2), because a

        substantial part of the events and omissions giving rise to Plaintiff’s claims

        occurred in Delaware.

                                FACTUAL ALLEGATIONS

     8. ERC attempted to collect a debt allegedly owed by Plaintiff relating to

        consumer purchases allegedly owed to Barclays Bank Delaware.

     9. The debt at issue arises out of an alleged transaction which was primarily for

        personal, family or household purposes and constitutes a “debt” for purposes of

        15 U.S.C. § 1692a(5).




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     10. On or about March 4, 2016, Plaintiff and ERC, on behalf of Barclays Bank

        Delaware, entered into a settlement agreement for Plaintiff’s Barclays account

        ending in 0357. A copy of the settlement agreement is attached hereto as

        Exhibit A.

     11. Pursuant to the terms of the aforementioned settlement agreement, Plaintiff was

        required to make twelve (12) monthly payments totaling $948.38 to settle and

        close his Barclays account.

     12. Thus, Defendant acknowledged in writing that it had agreed to a settlement of

        Plaintiff’s Barclays account ending in 0357, in consideration for the payments

        which Plaintiff would be required to make.

     13. Via his debt settlement company, National Debt Relief (“NDR”), Plaintiff

        timely made the requisite monthly payments to a trust account which was set

        up for purposes of funding the settlement.

     14. However, Defendant accepted and cashed only eight of the twelve payments.

        Proofs of these payments are attached hereto as Exhibit B.

     15. Thereafter, on December 14, 2016, NDR contacted Defendant to resolve the

        payment discrepancy.      During that conversation, an ERC representative

        explained that ERC would not accept the final settlement payment.

     16. Defendant’s reneging on the settlement agreement with Plaintiff constitutes a

        breach of the settlement agreement, which was a binding legal contract.

     17. Defendant knew or should have known that its actions violated the FDCPA.

        Additionally, Defendant could have acted in compliance with the FDCPA, but

        failed to do so.



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     18. Defendant failed to adequately review its actions to ensure compliance with the

        FDCPA.

     19. At all times pertinent hereto, Defendant acted by and through their agents,

        servants and/or employees, who were acting within the scope and course of

        their employment, and under the direct supervision and control of Defendant.

     20. At all times pertinent hereto, the conduct of Defendant, as well as that of their

        agents, servants and/or employees, was malicious, intentional, willful, reckless,

        negligent and in wanton disregard for federal law and the rights of the Plaintiff

        herein.

                                       COUNT I
                                  (Breach of Contract)

     21. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     22. Defendant acknowledged in writing that it had agreed to a settlement with

        Plaintiff, in consideration for the settlement payments, which Plaintiff would be

        required to make.

     23. The settlement agreement constituted a legally binding contract.

     24. Plaintiff timely made the requisite payments, in accordance with the settlement

        agreement.

     25. Defendant accepted eight of the twelve payments and refused to accept the final

        four payments in accordance with the aforementioned settlement agreement.

     26. Defendant’s reneging on the settlement agreement with Plaintiff was a breach

        of contract.

     27. As a result, Plaintiff has suffered actual and monetary damages.

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                                   COUNT II
            (Breach of Implied Covenant of Good Faith and Fair Dealing)

     28. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     29. Defendant owed Plaintiff an implied duty of good faith and fair dealing with

        respect to the settlement agreement entered between Defendant and Plaintiff.

     30. By way of the foregoing conduct, Defendant breached the implied covenant of

        good faith and fair dealing that they owed to Plaintiff with respect to the

        settlement agreement.

     31. Defendant has acted unreasonably and in bad faith and deprived Plaintiff of the

        benefit of the bargain of the settlement agreement by refusing to perform their

        obligations under the settlement agreement.

     32. As a result of Defendant’s breach of the implied covenant of good faith and fair

        dealing, Plaintiff has suffered actual and monetary damages.

                                      COUNT III
                           (Fair Debt Collection Practices Act)

     33. Plaintiff reasserts and incorporates herein by reference all facts and allegations

        set forth above.

     34. The above contacts between Defendant and Plaintiff were "communications"

        relating to a "debt" as defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the

        FDCPA.

     35. FDCPA 15 U.S.C. § 1692e(10) prohibits any false, misleading, or deceptive

        representation or means in connection with the collection of a debt.




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     36. FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the

        character, amount or legal status of any debt.

     37. FDCPA 15 U.S.C. § 1692f(1) prohibits the use of unfair or unconscionable

        practices to collect a debt, including collection of any amount not authorized by

        the contract or law.

     38. Defendant violated the FDCPA by falsely and deceptively inducing Plaintiff to

        enter into a settlement agreement which it did not intend to adhere to and which

        it intended to breach.

     39. Defendant knew or should have known that its actions violated the FDCPA.

        Additionally, Defendant could have taken the steps necessary to bring its

        actions within compliance with the FDCPA, but neglected to do so and failed to

        adequately review its actions to ensure compliance with the FDCPA.

     40. As a result of the above violations of the FDCPA, Defendant is liable to

        Plaintiff for actual damages, statutory damages, attorney’s fees and costs.




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands that judgment in the sum of $12,000.00 be
entered against Defendant as follows:

     (a) That judgment be entered against Defendant for actual and monetary
         damages accrued by Plaintiff as a result of Defendant’s breach of
         contract;

     (b) That judgment be entered against Defendant for actual and monetary
         damages accrued by Plaintiff as a result of Defendant’s breach of the
         implied covenant of good faith and fair dealing;

     (c) That judgment be entered against Defendant for actual damages pursuant
         to 15 U.S.C. § 1692k(a)(1);

     (d) That judgment be entered against Defendant for statutory damages
         pursuant to 15 U.S.C. § 1692k(a)(2)(A);

     (e) That the Court award costs and reasonable attorney's fees pursuant to 15
         U.S.C. § 1692k(a)(3); and

     (f) That the Court grant such other and further relief as may be just and
         proper.


                                   Respectfully Submitted,

                                   GARIBIAN LAW OFFICES, P.C.

                                   /s/ Antranig Garibian
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